Case 0:21-cr-60181-WPD Document 1 Entered on FLSD Docket 06/25/2021 Page 1 of KS
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                                                                                          Jun 24, 2021
                            IJM TED STATES DISTRICT COURT
                            SO UTH ERN DISTR ICT O F FLO R IDA
             21-60181-CR-DIMITROULEAS/SNOW
                   CASE NO.
                               18U.S.C.j1344
                               18U.S.C.j1028A(a)(1)
                               18U.S.C.j982(a)(2)(A)
 UNITED STATES OF AM ERICA

 VS.

 DANNY SERUTO PEREZ,

                D efendant.



                                        IN D ICTM E NT

        The Cyrand Jury chargesthat:

                                 G ENER M ,ALLEG ATIONS

        At allm aterialtim esto thislndictm ent:

               W ells Fargo B ank w as a financialinstitm ion w ith offices located in the State of

 FloridawhoseaccountswereinslzredbytheFederalDepositlnstlranceCoporation(ç$FDIC'').
               Citibank was a financialinstitution w ith offices located in the State of Florida

 whose accotmts w ere instlred by the FD IC.

               TD B ank w as a financial institm ion w ith offices located in the State of Florida

 whose accounts w ere insured by the FD IC .

               Space Coast Credit U nion w as a financial institution w ith offices located in the

 State of Florida w hose accounts w ere federally insured by the N ational Credit Union

 Administration(GûNCUA'').
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           5.     Fidelity Bnnk ofFloridawasafinancialinstitution with officeslocated in theState

    ofFlorida whose accotm tsw ere instlred by the FD IC .

           6.     FairwindsCreditUnion wasa financialinstitution with officeslocated in theState

    ofFloridawhoseaccotmtswerefederally insured by theNCUA.                                        .

           7.     M idFlorida CreditU nion w asa financialinstitution w ith officeslocated in the State

    ofFlorida w hose accotm tsw ere federally instlred by the N CUA .

           8.     JpM organ Chase Bnnk,N .A .w as a financialinstitution w ith offices located in the
'
    StateofFloridawhoseaccountswereinsured by theFDIC.

           9.     BB& T w asa financialinstitm ion w ith officeslocated in the State ofFlorida w hose

    accountswereinsuredby theFDIC.

                                             C O U NT S 1-8
                                             B ank Fraud
                                          (18U.S.C.j1344)
           1.     Paragraphs 1through 9 ofthe G eneralA llegationssection ofthisIndictm entare re-

    alleged and incop oratedfully herein by reference.

           2.     On or aboutthe dates specified as to each cotm tbelow ,in Brow ard Cotm ty,in the

    Southem DistrictofFlorida,and elsewhere,the defendant,

                                     D AN NY SER UT O PER EZ,

    did know ingly,atld w ith intentto defraud,execute,and atlem ptto execute,and cause theexecution

    of,a schem eand artifice to deâaud oneorm orefinancialinstitutions,which schem e and artifice

    em ployed a m aterial falsehood, and did know ingly, and w ith intent to defraud, execute, and

    attempttoexecute,andcausetheexecution of,aschemeandartificetoobtainmoneysandfunàs
    owned by,and underthe custody and controlof one or m ore financialinstitutions,by m eans of

    false atld fraudulent pretenses, representations, and prom ises, relating to a m aterial fact, in


                                                   2
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 violationofTitle18,UnitedStatesCode,Sections1344(1)and(2),and2.
                         PU RPO SE O F TH E SC H EM E AN D M W IFICE

        Itw asthepurpose oftheschem e and artificeforD AN N Y SER U TO PER EZ to unlaw fully

 emich him selfby depositing stolen checksinto hisbnnk accotmtsatvariousfinancialinstitm ions.

                 M AN N ER AN D M EAN S O F TH E SCH EM E A ND A RTIFIC E

        The m annerand m eans by which DANNY SERUTO PEREZ soughtto accomplish the

 pup oseofthe scheme and artificeincluded,am ong others,the following:

                 DA N N Y SER U TO PE REZ m aintained bank accotm ts at various financial

 institrtions.

                 DANNY SERUTO PEREZ obtained checksthatwere stolen from various mail

 colled ion boxes operated by the United States Postal Service throughout Florida,w hich w ere

 subsequently altered.

                 DANNY SERUTO PEREZ deposited thestolen and altered checksinto hisbnnk

 acccglnts.
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                                      EX EC U TIO N OF TH E SCH EM E A ND M W IFICE

                On or aboutthe dates specified below,in Broward Cotmty,in the Southern Districtof

 Florida,and elsewhere,DANN Y SERUTO PEREZ did execute,and attem ptto execute,and

 causethe execution of,theabove-described scheme and artificeto deâaud,asm oreparticularly

 described below :

      Connt                    ApprokimateDaïp :ï'                              .         :tyeéùiion .                                   ' ' 'C'
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            1                     July 30,2018                    Deposit of check ntlm ber 211 in the nrnolmt of $1,000,
                                                                  draw n against the Space Coast Credit U nion account of
                                                                  M .B ., into a W ells Fargo B nnk account in the nam e of
                                                                  D ann Seruto Perez.
            2                    August1,2018                     Depositofcheck nllm.ber 8451 in the am otmt of $1,800,
                                                                  drawn againsttheFidelity Bank ofFloridaaccolmtofL.S.
                                                                  and I.S.,into a W ellsFargo Barlk accotmtin the nam e of
                                                                  D ann Seruto Perez.
            3                    August2,2018                     Depositof check nllmber4303 in the am otmt of $1,800,
                                                                  drawn againstthe FairwindsCreditUnion accotmtofL.P.
                                                                  and K .P.,into a W ells Fargo Bnnk accountin the nnm e of
                                                                  D ann Seruto Perez.
            4                    August3,2018                     Depositof check number4305 in the nm otmt of $1,800,
                                                                  drawn againstthe Fairw inds CreditU nion accountof L.P.
                                                                  and K .P.,into a W ells Fargo B nnk accountin the nnm e of
                                                                  D ann Seruto Perez.
            5                   August13,2018                     Depositof check number 9015 in the nm otmtof $1,800,
                                                                  drawn againsttheM idFlorida CreditUnion accountofE.J.
                                                                  and T.J.,into a W ellsFargo Bank accountin thenam e of
                                                                  D ann Seruto Perez.
            6                   August17,2018                     Depositof check number 1236 in the nm ountof $2,500,
                                                                  drawn against the Chase accotm t of H .B ., into a W ells
                                                                  Far o B ank accotm tin the nam e ofD ann Seruto Perez.
            7                   August28,2018                     Depositof check n'lmber3164 in the nmountof $2,000,
                                                                  drawn against the BB & T account of J.C ., into a W ells
                                                                  Far o B nnk accountin the nam e ofD ann Seruto Perez.
            8                  Septem ber13,2018 Depositof Check 8334 in the amount of$1,800,drawn
                                                                  againstthe Chase accountof J.C .,into a Citibank accotm t
                                                                  in thenam e ofD ann Seruto Perez.

            InviolationofTitle18,UnitedStatesCode,Sections1344(1)and(2)and2.
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                                                                         C O UN TS 9-11
                                                                   A ggravated Identity Theft
                                                                    (18U.S.C.j1028A(a)(1))
                         On oraboutthedatesspecified asto eachcountbelow,in Broward County,in the Southern

 D istrictofFlorida,and elsewhere,the defendant,

                                                                   D AN N Y SER UT O PER EZ,

 during andinrelationtoafelonyviolation ofTitle 18,UnitedStatesCode,Sections1344(1)and
 (2),thatis,knowingly,and with intentto defraud,executing,and attempting to execute,and
 causingtheexecution of,aschem eandartitk etodefraud oneorm orefinanoialinstitutions,which

 schem e and artifice em ployed a materialfalsehood,and knowingly,and with intentto degaud,
 '




 executing,atld attemptingtoexecute,and causing the execution of,aschem eandartificeto obtain

 any ofthem oneysandfundsownedby,andunderthecustody and controlof,oneorm orefinancial

 institutions,bym eansoffalseand fraudulentpretenses,representations,and prom ises,relatingto

 amaterialfactaschargedin Cotmts1-8ofthislndictment,didknowinglypossess,anduse,without

 lawfulauthority,the meansofidentitk ation ofanotherperson,assetfot'th below :                                                 .



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                     9                      July 30,2018             N am e and checking accotm t nllm ber ending in 9634,
                                                                     belon in to :tM B .''
                 10                         August1,2018             N ame and checking account num ber ending in 0501,
                                                                     belon in to ;:S S.''
                 11                         August2,2018             N nme and checking account num ber ending in 0490,
                                                                     belon in to $tK P.''

                         Inviolation ofTitle18,UnitedStatesCode,Sections1028A(a)(1)and2.
                                                          FO N EIT UR E ALLE G A TION S

                                       The allegations set forth in this Indictm ent are hereby re-alleged and by this

reference f'ully incorporated herein for the purpose of alleging forfeittlre to the U nited States of

A m erica ofcertain property in w hich the defendant,D A NN Y SER UT O PER E Z,has an interest.
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                Upon conviction ofa violation ofTitle 18,United States Code,Section 1344,as

 alleged in this Indictm ent,the defendant shallforfeitto the United Slates of Am erica,ptlrsuantto

 Title 18,United StatesCode,Section 982(a)(2)(A),any propeo constitming,orderived from,
 proceeds which the defendantobtained directly or indirectly,as a resultofsuch violation.

         AllpursuanttoTitle18,UnitedStatesCode,Section982(a)(2)(A),andtheproceduresset
 forth atTitle 21,U nited States Code,Section 853,as incop orated by Title 18,U rlited StatesCode,

 Section982(b)(1).
                                                     A TRUE BILL



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   Case 0:21-cr-60181-WPD Document 1 Entered on FLSD Docket 06/25/2021 Page 7 of 8
                                            UM TED STATESDISTRICT CO URT
                                            SO W H ERN DISTRICT O FFLORIDA

  UNITED STATESO FA M ERICA                             CA SE NO .
   V.
   DannySeruto Perez,                                   CERTIFICATE OF TRIA L ATTO RNEY*
                                                        Superseding Caselnformation:
                Defendant.                   /
    CourtDivision:tselectOne)                           Newdefendantts) 1
                                                                        -1Yes I
                                                                              V No
    F-lMiami I--IKeyWest 1  -7
                             --1FTL                     Numberofnewdefendants
    I--IWPB r-1FTP                                      Totalnumberofcounts
        1.1havecarefully considered theallegationsoftheindictm ent,thenum berofdefendants,thenum berofproh ble
          witnessesandthelegalcomplexitiesofthelndictm ent/lnfbrm ation attachedhereto.
        2.1am awarethattheinform ation supplied on thisstatem entwillberelied upon by theJudgesofthisCoul'
                                                                                                         tin
          settingtheircalendarsand scheduling criminaltrialsunderthemandateoftheSpeedy TrialAct,
          Title28 U.S.C.Section 3161.
        3.lnterpreter:(YesorNo)Yes
          Listlanguageand/ordialect Spanish
        4.Thiscase willtake 5 daysforthepadiestotry.
        5.Pleasecheck appropriatecategory andtypeofoffenselistedbelow :
             (Checkonlyone)                           (Checkonlyone)
         1 0to5days              Edq                  Petty              g7I
         11 6to10days            (71                  Minor              Eql
         111 11to20days          E7l                  Misdemeanor        EEI
         IV 21to60days           171                  Felony             Edq
         V 61daysandover         EqI
        6.HasthiscasepreviouslybeenfiledinthisDistrictCoul't? (YesorNo) No
           lfyes:Judge                                  CaseNo.
           (Attachcopyofdispositiveorder)
           Hasacomplaintbeenfiledinthismatter? (YesorNo)No
           Ifyes:M agistrateCase No.
           Related m iscellaneousnumbers:
           Defendantts)infèderalcustodyasof
           Defendantts)instatecustodyasof
           Rule20 from theDistrictof
           Isthisapotentialdeathpenaltycase?(YesorNo)
        7. Doesthiscase originatefrom amatterpending intheCentralRegion oftheU .S.Attorney'sOfficepriorto
           August9,2013(Mag.JudgeAlicia0.Valle)?(YesorNo) No
        8. Doesthiscase originatefrom amatterpending in theNorthern RegionoftheU.S.Attorney'sOffice priorto
           August8,2014(Mag.JudgeShaniekMaynard?(YesorNo) No
        9. Doesthiscase originatefrom am atterpending intheCentralRegion oftheU .S.Attorney'
                                                                                           sOfficepriorto
           October3,2019(Mag.JudgeJaredStrauss)?(YesorNo) No


                                                                           #

                                                                     Lacee Eliza eth M onk
                                                                     AssistantUnited States Attorney
                                                                     FLA BarNo.       100322
*penaltySheetts)attache
                      .d                                                                               ltEv 3/19/21
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                                UN ITED STATES DISTRICT CO URT
                                SO UTH ERN DISTRICT O F FLOR IDA

                                        PENALTV suskT
   Defendant'sNam e: D anny Seruto Perez

   CaseN o:

   Counts#:1-8
   Bank Fraud

   Title 18,United StatesCode,Section 1344

   *M ax.Penalty:30 Y ears'lm prisonm ent

   Counts#:9-11

   A ggravated Identity Theft

   Title18,UnitedStatesCode,Section 1028A(a)(1)
   *M ax.Penalty:2Years'Imprisonment(consecutivetoanyothersentence)
   *R efers only to possible term ofincarceration,does not include possible fines,restitution,
   specialassessm ents,parole term s,or forfeituresthat m ay be applicable.
